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                                                                                               FILED
                                                                                    John E. Triplett, Acting Clerk
                                                                                     United States District Court
                      IN THE UNITED STATES DISTRICT COURT                        By CAsbell at 3:13 pm, Dec 31, 2020
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                              BRUNSWICK DIVISION


 CHARLES BARRERAS,

                Movant,                                   CIVIL ACTION NO.: 2:20-cv-141

        v.

 UNITED STATES OF AMERICA,                                (Case No.: 2:19-cr-41)


                Respondent.


                                          ORDER

       Movant Charles Barreras (“Barreras”) filed this 28 U.S.C. § 2255 Motion, which the

Court has reviewed. Barreras attacks the conviction and sentence obtained in this Court in Case

Number 2:19-cr-41. Pursuant to Rule 4(b) of the Rules Governing Section 2255 Proceedings,

the Court ORDERS the United States Attorney to file an answer or motion to dismiss within 30

days stating what records and documents need to be produced to fully respond to the motion.

The Government shall also include in this response its position regarding the need for expansion

of the record authorized by Rule 7, evidentiary hearing authorized by Rule 8, and any additional

discovery necessary authorized by Rule 6 of the Rules Governing Section 2255 Proceedings.

The Court DIRECTS the Clerk of Court to forward a copy of this Order and a copy of Barreras’

Motion for relief to the Savannah Office of the United States Attorney for the Southern District

of Georgia.

       In addition, Barreras filed a Motion for Leave to Proceed in Forma Pauperis. Doc. 2.

The Court DENIES as moot Barreras’ Motion, as there is no filing fee applicable to § 2255

motions. Rule 3, Rules Governing Section 2255 Proceedings for the United States District
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Courts, Advisory Committee’s Note to 1976 Adoption (“There is no filing fee required of a

movant under these rules[]” “to recognize specifically the nature of a § 2255 motion as being a

continuation of the criminal case whose judgment is under attack.”); 28 U.S.C. § 1914(a).

       SO ORDERED, this 31st day of December, 2020.




                                     _____________________________________
                                     BENJAMIN W. CHEESBRO
                                     UNITED STATES MAGISTRATE JUDGE
                                     SOUTHERN DISTRICT OF GEORGIA




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